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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division
                                       www.flsb.uscourts.gov

In re: SANDRA COLON,                                                     Case No. 15-29217-RAM
                                                                         Chapter 13

                        Debtor(s) /

                           DEBTOR’S CERTIFICATE OF COMPLIANCE,
                          MOTION FOR ISSUANCE OF DISCHARGE AND
                              NOTICE OF DEADLINE TO OBJECT

                                       NOTICE OF TIME TO OBJECT

Any interested party who fails to file and serve a written response to this motion
within 21 days after the date of service of this motion shall, pursuant to Local Rules
4004-3(A)(3) and 9013-1(D), be deemed to have consented to the entry of an order of
discharge.


The debtor(s)*, SANDRA COLON, in the above captioned matter certifies as follows:

1.       The chapter 13 trustee has issued a Notice of Completion of Plan Payments on
         September 16, 2020. The debtor is requesting the court issue a discharge in this
         case.

2.       The debtor has completed an instructional course concerning personal financial
         management described in 11 U.S.C. §111 and proof of completion of the course
         was filed with the court on January 8, 2016.

3.       Compliance with 11 U.S.C. §101(14A):

                A. The debtor has not been required by a judicial or administrative order, or
         by statute to pay any domestic support obligation as defined in 11 U.S.C. §101(14A)
         either before this bankruptcy was filed or at any time after the filing of this
         bankruptcy,

                                                           or



         *
          All further references to “debtor” shall include and refer to both of the debtors in a case filed jointly by two
individuals, unless any information is noted as specifically applying to only one debtor.



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                B. The debtor certifies that as of the date of this certification, the debtor
         has paid all amounts due under any and all domestic support obligations as
         defined in 11 U.S.C. §101(14A), required by a judicial or administrative order or
         by statute, including amounts due before, during and after this case was filed.
         The name and address of each holder of a domestic support obligation is as
         follows:
                                  _________________
                                  _________________

 4.    The debtor’s mailing address for receipt of court notices is as follows:
 [Note: Providing an updated debtor address here constitutes a change of address
 pursuant to Local Rule 2002-1(G). No separate Notice of Change of Address is required
 to be filed.
                                 20301 NE 30 Ave.
                                  Apt. PH 5-314
                                 Miami, FL 33180


 5.      The name and address of the debtor’s most recent employer is as follows:
                                 _________________
                                 _________________

 6.      The following creditors hold a claim that is not discharged under 11 U.S.C.
         §523(a)(2) or (a)(4) or a claim that was reaffirmed under 11 U.S.C. §524(c):
                                     _________________
                                     _________________

 7.      Compliance with 11 U.S.C. §1328(h):

                  A.       The debtor has not claimed an exemption under §522(b)(3) in
                           an amount in excess of $170,350* in property of the kind
                           described in §522(q)(1) [generally the debtor’s homestead];

                                                         - or -




*Amounts are subject to adjustment on 4/01/22, and every 3 years thereafter with respect to cases commenced on or
after the date of adjustment.
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                 B.        The debtor has claimed an exemption under §522(b)(3) in an
                           amount in excess of $170,350* in property of the kind described in
                           §522(q)(1) but there is no pending proceeding in which the debtor
                           may be found guilty of a felony of a kind described in §522(q)(1)(A)
                           or found liable for a debt of the kind described in §522(q)(1)(B).

8.      The debtor has not received a discharge in a case filed under chapter 7, 11, or 12
        during the 4 year period preceding the filing of the instant case or in a case filed
        under chapter 13 during the 2 year period preceding the filing of the instant case.

I declare under penalty of perjury that the information provided in this Certificate is true and
correct.
                                              /s/ Sandra Colon
                                              SANDRA COLON, Debtor
                                       CERTIFICATE OF SERVICE
       I certify that a true copy of Debtor’s Certificate of Compliance, Motion for Issuance
of Discharge and Notice of Deadline to Object was served as follow:

Dated: September 21, 2020
By electronic mail:
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
ecf@ch13weiner.com;ecf2@ch13weiner.com

By Regular First Class Mail to:
All parties on the attached mailing list.
                                                             MARY JO RIVERO, P.A.
                                                             Attorney for Debtors
                                                             1806 N. Flamingo Road, Suite 355
                                                             Pembroke Pines, FL 33028
                                                             (954) 704-9332
                                                             ecf@maryjorivero.com

                                                             By: /s/ Mary Jo Rivero
                                                                    Mary Jo Rivero
                                                                    FBN 0745870


*Amounts are subject to adjustment on 4/01/22, and every 3 years thereafter with respect to cases commenced on or
after the date of adjustment.


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Label Matrix for local noticing              Nationstar Mortgage LLC                          SN Servicing Corporation, as Servicing Agent
113C-1                                       c/o Melbalynn Fisher, ESQ                        Ghidotti Berger LLP
Case 15-29217-RAM                            Robertson, Anschutz & Schneid                    c/o Chase A. Berger
Southern District of Florida                 6409 Congress Ave                                3050 Biscayne Blvd., Suite 402
Miami                                        Suite 100                                        Miami, FL 33137-4143
Mon Sep 21 17:34:40 EDT 2020                 Boca Raton, FL 33487-2853
Villa Dorada Condominium Association, Inc.   Wells Fargo Bank, NA                             American Home Mtg Srv/Homeward Residenta
Eisinger, Brown, Lewis, Frankel & Chaiet     BROCK & SCOTT, PLLC                              Ahmsi / Attention: Bankruptcy
Jed L. Frankel, Esq.                         c/o Robert Baldwin, Esq.                         Po Box 631730-1730
4000 Hollywood Blvd., Suite 265-S            1501 NW 49th Street, Suite 200                   Irving, TX 75063
Hollywood, FL 33021-6782                     Fort Lauderdale, FL 33309-3723

Bank Of America                              Barclays Bank Delaware                           (p)JPMORGAN CHASE BANK N A
Nc4-105-03-14                                Po Box 8801                                      BANKRUPTCY MAIL INTAKE TEAM
Po Box 26012                                 Wilmington, DE 19899-8801                        700 KANSAS LANE FLOOR 01
Greensboro, NC 27420-6012                                                                     MONROE LA 71203-4774


Citibank                                     Citibank / Sears                                 Citimortgage
Citicorp Credit/Centralized Bankruptcy       Citicorp Credit Srvs/Centralized Bankrup         Citimortgage Inc/Attn: Bankruptcy.
Po Box 790040                                Po Box 790040                                    Po Box 6030
Saint Louis, MO 63179-0040                   Saint Louis, MO 63179-0040                       Sioux Falls, SD 57117-6030


Data Central Collectio                       Department Store National Bank                   Dsnb Macys
2600 W Shaw Ln                               c/o Quantum3 Group LLC                           Macys Bankruptcy Department
Fresno, CA 93711-2767                        PO Box 657                                       Po Box 8053
                                             Kirkland, WA 98083-0657                          Mason, OH 45040-8053


Heritage Green Homeowners’ Assoc. c/o C      Hon. Loretta Lynch, Atty Gen                     Horack, Talley, et al.
POB 26844                                    Dept of Justice #4400                            2600 Wells Fargo Center
Charlotte, NC 28221-6844                     950 Pennsylvania Ave                             301 S. College Center
                                             Washington, DC 20530-0001                        Charlotte, NC 28202-0905


Internal Rev Svc                             Ivette E. Arroto- Becker                         Jared/Sterling Jewelers
POB 7346                                     10527 Meadow Crossing Lane                       Po Box 1799
Philadelphia, PA 19101-7346                  Cornelius, NC 28031-8440                         Attn: Bankruptcy
                                                                                              Akron, OH 44309-1799


Luisa Arroyo                                 MTGLQ Investors, L.P.                            Nationstar Mortgage LLC
20301 NW 30 Ave., Apt. 314-5                 c/o Selene Finance, LP                           8950 Cypress Waters Blvd
Aventura, FL 33180                           Attn: Cash Dept.                                 Coppell, TX 75019-4620
                                             9990 Richmond Ave. Suite 400 South
                                             Houston, TX 77042-4546

(p)NATIONSTAR MORTGAGE LLC                   Nationstar Mortgage LLC                          Office of the US Trustee
PO BOX 619096                                Shapiro Fishman & Gache LLP                      51 S.W. 1st Ave.
DALLAS TX 75261-9096                         2424 North Federal Hwy #360                      Suite 1204
                                             Boca Raton FL 33431-7701                         Miami, FL 33130-1614


Shapiro, Fishman, and Gache, LLP             Syncb/brandsmart                                 Synchrony Bank/ HH Gregg
2424 N. Federal Highway, Suite 360           C/o P.o. Box 965036                              Attn: Bankruptcy
Boca Raton, FL 33431-7701                    Orlando, FL 32896-0001                           Po Box 103104
                                                                                              Roswell, GA 30076-9104
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U.S. Bank Trust National Association, as Tru         Villa Dorada Condominium                             Volkswagon Credit Inc
C/O SN Servicing Corp.                               20250 W Country Club Drive                           National Bankruptcy Services
323 5th Street                                       Aventura, FL 33180-1608                              9441 Lbj Freeway, Suite 250
Eureka, CA 95501-0305                                                                                     Dallas, TX 75243-4640


Wells Fargo Home Mortgage                            Wilfredo A Ferrer                                    Xcel Federal Cr Un
Written Correspondence Resolutions                   US Attorney                                          1460 Broad St
Mac # X 2302-04e Po Box 10335                        99 NE 4 St                                           Bloomfield, NJ 07003-3014
Des Moines, IA 50306-0335                            Miami, FL 33132-2131


Mary Jo Rivero                                       Nancy K. Neidich                                     Sandra Colon
1806 N Flamingo Rd #355                              www.ch13miami.com                                    20301 NE 30 Ave #314
Pembroke Pines, FL 33028-1041                        POB 279806                                           Aventura, FL 33180-1517
                                                     Miramar, FL 33027-9806


Stacy H Bressler
Law Office of Stacy Bressler
8201 Peters Road, Suite 1000
Plantation, FL 33324-3266




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  (d)Chase Mtg                                         Nationstar Mortgage LLC
Attn: Correspondence Dept                            Po Box 24696                                         P.O. Box 619096
Po Box 15298                                         Columbus, OH 43224                                   Dallas TX 75261-9741
Wilmington, DE 19850




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)MTGLQ Investors, L.P.                             (u)Nationstar Mortgage LLC                           (u)U.S. Bank Trust National Association as Tr




(u)Miami                                             End of Label Matrix
                                                     Mailable recipients      39
                                                     Bypassed recipients       4
                                                     Total                    43
